Case 3:20-cv-12827-MAS-DEA Document 14-6 Filed 12/04/20 Page 1 of 2 PagelD: 458

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

 

 

 

MICHAEL 1M
c PATRICK SIANO", Document Filed Electronically
y Plaintiff Corporate Entity, | (3.5 No.: 3:20-cv-12827-MAS-DEA
M&T BANK,
PARKER McCAY P.A. LAW CERTIFICATE OF SERVICE
OFFICES et al. and all Unknown Parties,
Defendants.
I, James P. Berg, Esq., hereby certify as follows:
1. I am an attorney-at-law admitted to practice in the United States District Court,

District of New Jersey and an attorney with the law firm of Parker Ibrahim & Berg LLP, counsel

for Defendant M&T Bank (“Defendant”).

2. On December 4, 2020, I caused to be served (i) Defendant’s M&T Bank’s Reply

Memorandum of Law in Further Support of its Motion to Dismiss the Complaint; (ii) Declaration

of James P. Berg, Esq. dated December 4, 2020, with accompanying exhibits; and (iii) this

Certificate of Service as follows:

VIA CM/ECF AND FEDEX
Michael Patrick Siano™
102 Haines Street East

Lanoka Harber, New Jersey 08734

Pro Se Plaintiff

Andrew C. Sayles, Esq.
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Attorney for Defendant
Parker McCay, P.A.
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3. I hereby certify that the foregoing statements made by me are true. I am aware

that if any of the foregoing statements made by me are willfully false I may be subject to

punishment.
Dated: Somerset, New Jersey PARKER IBRAHIM & BERG LLP
December 4, 2020 Attorneys for Defendant,

M&T Bank

/s/ James P. Berg

James P. Berg Esq.

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